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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                              CRIMINAL NO. 06-50135-04/05/15

 VERSUS                                                JUDGE S. MAURICE HICKS, JR.

 JOHNNY WAYNE CUNNINGHAM (04),                         MAGISTRATE JUDGE HORNSBY
 LISA JACKSON DREW (05), AND VICTOR
 LAMOND THEUS (15)

                                 MEMORANDUM ORDER

        Before the Court is a Motion to Dismiss Count One as Duplicitous (Record

 Document 177) filed by defendant Lisa Jackson Drew. The Motion to Dismiss Count One

 as Duplicitous was also adopted by defendants Victor Lamond Theus and Johnny Wayne

 Cunningham. See Record Documents 201 & 202. The Government opposes the Motion

 to Dismiss Count One as Duplicitous. See Record Documents 197 & 204.

        Count One of the Indictment in the instant matter charges defendants Lisa Jackson

 Drew, Victor Lamond Theus, and Johnny Wayne Cunningham, among others, with

 knowingly and willfully conspiring to commit mail fraud and health care fraud by staging

 automobile accidents and incidents and filing false insurance claims.         See Record

 Document 1. Defendants argue that such count is duplicitous because “it actually allege[s]

 multiple conspiracies joining offenses and defendants that do not involve a common

 scheme or plan.” Record Document 177 at 1. The crux of defendants’ argument is that

 “Count One of the Indictment alleges multiple possible conspiracies rather than one overall

 conspiracy.” Id. Defendants also argue that Count One of the Indictment violates the

 joinder of offences provisions of Federal Rule of Criminal Procedure 8(a).1 Finally,

        1
        F.R.Cr. P. 8(a) states that “the indictment . . . may charge a defendant in separate
 counts with 2 or more offenses if the offenses charged--whether felonies or misdemeanors
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 defendants request an evidentiary hearing and argue that the Government must “set forth

 the basic facts of the alleged conspiracy and any evidence linking the various accidents

 to one overall conspiracy.” Id. at 2.

        The Fifth Circuit has defined duplicity as “the joining in a single count of two or more

 distinct and separate offenses.” U.S. v. Acosta, 763 F.2d 671, 696 (5th Cir. 1985). The

 Acosta court went on to state that in order to determine whether an indictment charges

 separate conspiracies or a single conspiracy, courts should consider “whether the alleged

 facts reveal a ‘substantial identity of facts or participants.” Id. (internal citations and

 quotations omitted). Generally, courts have found a single conspiracy in cases where the

 indictment adequately shows a singular conspiratorial objective. See id. (internal citation

 omitted). The simple fact that an indictment does not charge each and every defendant

 with active participation in each phase of the conspiracy does not bring about misjoinder.

 See id. The indictment also need not charge that each and every defendant “knew all the

 participants or details of the conspiracy as long as it alleges knowledge of the conspiracy’s

 essential nature.” Id. (internal citations and quotations omitted).

        Here, the Court finds that it is clear that Count One of the Indictment charges only

 one conspiracy with a single conspiratorial objective, to defraud insurance companies

 through staging automobile accidents and incidents and filing false claims. The facts

 alleged by the Government in Count One of the Indictment reveal a substantial identity of

 facts or participants that evidence such a single conspiracy to defraud insurance

 companies. However minor the roles of defendants Lisa Jackson Drew, Victor Lamond


 or both--are of the same or similar character, or are based on the same act or transaction,
 or are connected with or constitute parts of a common scheme or plan.”

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 Theus, and Johnny Wayne Cunningham, their involvement in the conspiracy is properly

 alleged by the Government, as it is not necessary for the Government to prove that each

 of these defendants were involved in each aspect of the conspiracy to defraud the

 insurance companies. Further, the Court notes that while not all defendants in the instant

 matter are charged on all counts, there is nothing preventing the Government from

 pursuing the theory that the alleged separate automobile accidents/incidents and the filing

 of false insurance claims, which occurred at frequent intervals over a number of years and

 involved various combinations of the alleged coconspirators, were not all overt acts of the

 single conspiracy to defraud insurance companies. See Acosta, 763 F.2d at 696-697.

         Accordingly,

         IT IS ORDERED that the Motion to Dismiss Count One as Duplicitous (Record

 Document 177) filed by defendant Lisa Jackson Drew, and adopted by defendants Victor

 Lamond Theus and Johnny Wayne Cunningham (Record Documents 201 & 202), be and

 is hereby DENIED.

         THUS DONE AND SIGNED at Shreveport, Louisiana, this the 31st day of October,

 2006.




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